Harris Declaration
Exhibit C

APP0061
     
 

EXHIBIT C

 

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Benvenuto, Giorgio - 05-12-2022

5/12/2022 10:00 AM

Full-size Transcript

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Prepared by:

Jamie Haussecker
FW-04464

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Monday, August 22, 2022

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APP0062
 

1 THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION

3 In the Matter of: )
4 } File No. FW-04464-A

5 CRYPTOFX LLC )

7 WITNESS: Giorgio Benvenuto

8 PAGES : 1 through 201

9 PLACE: Securities and Exchange Commission
10 801 Cherry Street

11 Fort Worth, Texas

12 DATE: Thursday, May 12, 2022

13
14 The above-entitled matter came on for hearing,
15 pursuant to notice, at 10:00 a.m.

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24 Diversified Reporting Services, Inc.

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25) (202) 467-9200

 

 

 

[5/12/2022 10:00 AM] Benvenuto, Giorgio - 05-12-2022
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APPEARANCES :

On behalf of the Securities and Exchange Commission:

JILLIAN HARRIS, ESQ.

JAMES E. ETRI, ESQ.

TAWNYA GODSEY

Securities and. Exchange Commission
Division of Enforcement

801 Cherry Street, Suite 1900, Unit 18

Fort Worth, Texas 76102

On behalf of the Witness:
ROBERT BURFORD, ESQ.
Burford Perry LLP
2 Houston Center
909 Fannin, Suite 2630

Houston, Texas 77010

 

[5/12/2022 10:00 AM] Benvenuto, Giorgio - 05-12-2022

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[5/12/2022 10:00 AM]

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PROCEEDINGS

MS. HARRIS: We are on the record at
10:00 a.m. Central Time, May 12th, 2022.

Mr. Benvenuto, please state your name.

MR. BENVENUTO: Giorgio Benvenuto.

MS. HARRIS: And can you spell it for the
court reporter this morning?

MR. BENVENUTO: It would begin with
G-I-O-R-G-I-0. The last name's spelled B as in boy,
E-N, Vas in Victor, E-N-U-T-O.

MS. HARRIS: And, Mr. Benvenuto, do you
consent to taking an oath or affirmation to tell the
truth remotely via Webex rather than in person?

MR. BENVENUTO: I do.

MS. HARRIS: Do you understand that this
oath has the same affect as if it were administered in
person?

MR. BENVENUTO: I do.

MS. HARRIS: Please raise your right hand.
Do you swear to tell the truth, the whole truth, and
nothing but the truth?

MR. BENVENUTO: I do.

Whereupon,
GIORGIO BENVENUTO

was called as a witness and, having been first

 

[5/12/2022 10:00 AM) Benvenuto, Giorgio - 05-12-2022

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decision. But again, life circumstances pretty much
brought me to the point where, you know, I'm going to --
T'm going to take the chance. I feel comfortable with
Mauricio. He is a friend of mine. And meeting Gustavo
and Eduardo, I liked their chemistry.

And so that's around the time I began my
involvement with CFX, or CryptoFX, rather. Let's keep
the name straight. I opened up a contract in July at
that time, as you see in the time line. During -- also
during that, in parallel dialogue was this possibility
of looking, you know, at properties. You know, again,
once Mauricio found out what Gabriel and I were
pursuing, he kind of mentioned the whole "hey, why don't
we do this venture together?" Because initially, it was
going to be myself and Gabriel Torres, who owns his own
construction company and just kind of was looking for
another avenue to wind down because he had been doing
this for 28 years and wanted to do something different
or smaller scale...

So I pitched the idea of "why don't we start
luxury homes?" You know, buy a property, build, and
sell. You know, once I got Mauricio talking about that,
he asked more questions and he said, "Well, why don't we
think about combining resources?" So essentially, he

upped the game financially, more or less, and that's

 

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A That he'd been in this space as a trader for some
time. I forget what the year he said when he started
all of this, you know, his trading experience, but it
had been a while. Just the dialogue that he had
regarding the subject matter, it seemed to me that this
guy knew his stuff.
Q Did he tell you anything about his average
returns?

A No, no. I don't recall anything like that. It

was just more of, you know, what -- I guess he expressed
the idea of empowering the -- I don't want to make him
seem like Robin Hood -- but empowering the common man,

as it were. And I want to tell you he was looking out

for his fellow Latino community that was prevalent.

.Q Okay.
A So guess this was that way.
Q Did he tell you anything about how much you were

going to be getting back in this investment?

A Oh, when it came time for me to ask those
specific questions? At that time the contract that I
set up with CryptoFX was set up as a variable rate,
maximum of 20 percent. And you could sign up, as I
recall, through either, like, a three-month or a
six-month contract receiving that variable rate of

return from anywhere from zero the twenty percent. And

 

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of course, I -- I opened that contract, and it was for
six months. And at -- at the six-month interval, I was
paid out both principal and profits at the highest rate
of return, which I thought was phenomenal.

Q So how much return did you actually get?

AS Well, so we're going to have to do the math, I
guess. But at 20 percent monthly, it would have been
$120,000 in profits plus the original principal.

Q Okay.

A So --

Q Apologies. I interpreted you.

A Did you get what I said?

Q Yes, I did. I'm not sure I caught the -- I heard
you say "variable rate". I'm not sure I caught the
20 percent, if it was what you actually got paid.

A Right, which I thought was incredible because,
again, it was offered as a variable rate based on market
performance. And so looking back now, all I could see
why I got it, that was -- that was the initial wave of
Bitcoin and all the rest of it. So whatever he did,
however he traded, clearly, he did very well to allow me
to get a return of 20 percent, which was amazing.

Q Did he ever disclose to you whether or not he was
paying himself any sort of management fee?

A I didn't delve into any of the financials. It

 

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A I'm compensated weekly, yes.

Q How much is that salary?

A Currently, I am paid $2,800.

Q Per week, you said?

A Correct.

Q And where is that salary going into?

A The salary is.

Q Strike that. That was a bad question, Gio.
That's my fault.

What bank account is that salary going into?

A The bank account it's going into is the Spirit of

Texas, currently being acquired, or has been acquired,

by Simmons Bank.

Q And where is that money coming from, what bank
account?
A The corporate account, the CBT Group account at

the same bank.
Q Thank you. And that salary's for services

rendered in your role as manager of CBT, correct?

A Yes.

Q Okay. Exactly what are you doing as manager of
CBT?

A I cover the scope of what the company requires,

essentially. So that would be seeking out the

opportunity; vetting the opportunity; engaging a

 

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property broker; looking, obviously, at dealing with
title companies. And then, of course, once the property
acquisition piece is resolved, I'm now entertaining the
engineering portion: Getting those people involved;
vetting those people for the -- right people for the
right project; having them conduct the surveys or the
core samples, soil samples, the tension surveys that are
required by the State or City. And then, of course, the
architect coming up with a suitable architectural design

for the area that would be attractive to a prospective

home buyer, or town home -- in this case, town home
purchaser. uo
Q We'll get to the specific opportunities, and

perhaps at that time, we can put forth your notes, which
I will have entered into the record. But first, let me
ask just some more broad questions.
Did you put any personal capital into CBT? :

A No, ma'am. I would describe my efforts as "sweat
equity".

Q What capital started CBT?

A Capital came from funds that were sitting in the
CBT account. And specifically, those funds, as I
mentioned before, were -- the source of which has been
submitted to you has been checks written by individuals.

to the company.

 

[5/12/2022 10:00 AM] Benvenuto, Giorgio - 05-12-2022
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Q Okay. I'm not quite sure we're getting down to
my question. What capital -- well, let me ask a better
question: Does CBT have investors?

A If it does, I'm unaware of it. I don't believe
that is the case.

Q Okay. So if CBT doesn't have investors and
there's capital in the CBT bank accounts, where is that
money coming from?

A As far as the -- the checks being written by
these individuals, I couldn't tell you if these
individuals were actual CFX members or just individuals
as Mauricio handles all of that. So, you know, my -- my
piece in this is that he would communicate to me that
"hey, I have some funds. Please pick them up and make
deposits for the CBT account". I don't know who these
people are. If you're asking me to, you know, guess
where it may be coming from, well, I'm going to have to
guess it's people related to the CryptoFX side of his
business. But it's under his direction that they write
these checks to CBT Group.

Q So you have never directed anyone to write a

check to CBT Group for a real estate development

business?
A Yes.
Q I'm so sorry, Gio. I cannot hear your question.

 

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I'm not requesting you to restate. I just can't hear
you.

A The answer is "no".

Q So there's no CBT investor roster?

A Not that I'm aware of.

Q When you first established CBT, was there an
agreement between you, Mr. Chavez, and Mr. Torres that
Mr. Chavez would handle all of the financials?

A Not that it was directly spoken to. But he would
be the financial entity of this venture, so if that
answers your question.

Q It doesn't.

A We didn't actually say, "Hey, you're going to be
responsible for the money." Those words were not
spoken. But was it understood? Yes.

Q So was there some sort of understanding that

Mr. Chavez would direct the money from CFX into CBT?

A I couldn't comment on that. -
QO What do you mean, "you can't comment on it"?
A Meaning I don't know.
Q Well, Gio, I'm trying to understand. You're
making a -- you're a manager and a principal ina

business that is fairly capital-intensive, and you seem
to be testifying that you have no idea where all this

money came from. And so I want to understand if you're

 

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favor and, you know, wire money to this individual."
And of course -- and I'm not going to question him. I
mean, he -- it's his -- you know, he's 85 percent
control of the company. It's his money. And so I know
he was having difficulty with CFX, as it were, with
banks. They just don't like it. So if he asked me to
do him -- you know, under his directive to send money to
said person? Yeah.

Q Okay.

A Usually, that would have been in the form of a
wire.

Q Okay. That's helpful context. Would you use the
CBT accounts to wire money to certain people who you
understood were CFX investors?

A Well, he never clarified who they were. He would
just say, "Hey, I need you to please send this money to
this person, this amount." He would give me the wiring
information needed to do so, and, of course, I'm going
to help him. I just did it.

Q Okay. And so these checks that are written on
the CBT account could be an example of when you were
asked to pay out people on behalf of Mr. Chavez. Is
that a fair statement?

A Well, I see his signature, so he would have had

to -- since we had the joint account -- forgive me if

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I'm misquoting this: But since we both had the account,
obviously, he had signing privileges. It appears he

wrote a check to this person.

Q Some of these are your signature?
A Me?
Q One of them is your signature.

A The Frank Comiskey?

Q Yes.
A Yeah. Would you like me to comment on that?
Q Let me take a couple steps back here. But

essentially yes. Would he ask you to wire people from
this account, this Lone Star account?

A Again, unless I look at the actual records -- I
know it has happened with this current account -- excuse
me -- with the Spirit of Texas account. He's asked me
to do that. I can't -- unless I look at the records, I
can't verify if it happened in the Lone Star time frame.

Q Okay. Fair enough. You said it was his money.
Is it your understanding that the money that he put in
from those checks that went into the Cadence Bank
account that then went into the Lone Star account was
Mr. Chavez's money, or is it your understanding that it
was investor money?

A Frankly, I never cared to ask deeper questions

than what you're proposing, and I may have in -- may be

 

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misreferencing because you could be pointing to "yeah,
it could be member money". Again, I -- I can't verify
it. I'm sorry.

Q That's okay. Thank you.

Can you now speak to the check that you wrote to
Frank Comiskey?

A Yeah. Frank Comiskey is an insurance agency of
which we required to have insurance for the labor that
was being performed on the Tomball property. So there
had to be a rider in the event of a slip and fall, that
type of thing.

Q Thank you. That's helpful.

Did you ever ask Mr. Chavez about why he was
writing checks to individuals on the CBT account?

A T never did, no.

Q Okay. I don't want you to speculate too much.

But I don't want you to look at the amounts that he's

writing with these checks on Exhibit 51. Are these

amounts the amounts that Mr. Chavez in the CryptoFx
business would pay out in returns?

A Sorry. I could not verify that either way.

Q Okay. That's fine. Do you know why Mr. Chavez
never memorializes any of these payments? And when I
Say “memorializes", he doesn't appear to put a lot of

detail in the memo line, if any.

 

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A Yeah, and I've never asked him why. You know,
again, what you and I consider normal business-keeping

practices, clearly, that should not be applied to all.

Q Okay.
A Just to remind you, back in the CityCentre-era
days, I mean, what I saw, you know, his -- his office

guy really, the guy that kind of held it together, in my
opinion, was Eduardo Taffinder.

Q Okay.

A I mean, I know that that's what he excelled at.

MS. HARRIS: Okay. Tawnya, let me ask you
to put up Exhibit 52, please.
(SEC Exhibit No. 52 was marked
for identification.)

Q Gio, take your time with this. But I'm just
going to signal to you, this is a closing document to
close the account that we were looking over previously,
the CBT account at Lone Star Bank. And I will note that
this account was open from May 5th, 2021, to May 28th,
2021, so it was only open a couple of weeks.

A Yes. Well, less than a month, yeah -- I'm sorry.
Your question to me now?

Q I want to you to take your time with the document
and just let me know whenever you're done.

A I've read it.

 

[5/12/2022 10:00 AM] Benvenuto, Giorgio - 05-12-2022
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Q Well, you have the WhatsApp in front of you.

A Yeah. I'm trying to read through it as I talk to
you. I see audio -- "image omitted", "Thank you, bro."
So he's thanking me for bringing up the idea, but I
never got a definitive answer of, "Yeah, let's pursue
this," or "No, that's a bad idea." Nothing that's clear
to me here.

Q Okay. So you thought you should get licensure.
You were talking to attorneys about getting licensure.

A I thought we should entertain that avenue.

Q Okay. You say "if we can get over this hurdle".

What is the hurdle that you're referring to?

A Well, the hurdle, that was my impression. It
wasn't -- you know, again, I could have been off base,
Jill. But in my mind, you know, I -- forgive me for

being critical, but I kind of look at worst-case
scenarios before I look at positive things. That's just
the way I'm wired.

Again, we're in unchartered territory in this
digital business, and no regulations are out there
really. How do we -- how do we deal with this business
scenario? So I'm -- I'm entertaining every angle I can
to see where we can hang our hat on here, what is an
available route to take.

Q Okay. Did you think it was possible that because

 

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of some of the activities that were going on with the
trading and the classes that CryptoFX might have needed
a license?

A Not because of that. But, you know, again, I
questioned -- you know, this is me talking in my head:

I questioned whether this academy could be something
more.

Q Okay.

A You know, that's really what that's about. It
wasn't me telling Mauricio, "Hey, you need to do this
scenario," right.

Q Okay. Let's go to page 5 of the PDF. ‘At the
very top on September 15th, 2021, you state, "Just my
two cents, but shouldn't you try to incentivize people
towards the six-month package by offering a 15 percent
return on the six-month package and a 12 percent return
on the three-month package?"

Do you recognize that?

A I do.

Q So tell me what you're texting Mauricio here and
what this is.

A Again, this is me probing different angles of
trying to, you know, help him with his business. Again,
I don't know where he is in his head space. Yes, I'm

involved as a member. And so, you know, I simply looked

 

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at what was happening and thinking, "well, okay,
we'll -- if you're -- you're looking to get more people
involved for longer commitment, why not reward those
that want to go longer commitment?" and again, Jill, my
two cents. This is me thinking.

Q Okay. “So I mean, if you're trying to reward
those for a longer commitment, aren't you guaranteeing
the 15 percent?

A Not necessarily. Again, this is me and my
opinion of a subject matter that I have no knowledge
about how it's done.

Q Okay.

A Because, again, he -- he's offering a variable
vate at whatever percentage it is. So if the market
does well, apparently, you get paid the top percent. If
it doesn't do well, well, it's going to be something
less.

Q Have you ever heard of anyone not getting paid
the top percent?

A I don't really talk to anyone in the member base
to know that answer. But I -- I've yet to hear a
complaint.

Q And that would be the reward, right, for the
longer package, getting the top percent of the variable

rate the, 15 percent?

 

[5/12/2022 10:00 AM] Benvenuto, Giorgio - 05-12-2022
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A Well, I would consider that, sure. It's better
than what the bank is offering. You can strike the
commentary, if you want.

Q Let's go to page 123 of the PDF. So I'm going to
go to the very bottom with Mauricio starting off at 2:12
saying, "Have him do it, brother." And you respond,
"CXF lease," I assume you mean "CFX lease", "will be
fixed at 40K per month. CBT to assume all costs related
to maintenance and utilities for the term of four years.
Lease period begins once renovations are complete by
November 30th. First and last month's due on December
Ist, 2021."

Mauricio responds "40K?" Mauricio then says,
"That's high, brother." You say, "That's just to make
sure we keep CBT funded, brother, and to make it look
realistic as CBT is assuming triple net costs involving
utilities and maintenance." Then you say, "It should be
at least 30K to make it look believable."

I want to ask because we've gone over the lease
terms prior to this. Who were you trying to make it
look believable to?

A Let me start off by saying that CBT never
received a cent. If it does, I don't know where it's
being deposited. As far as this lease is concerned,

again, based on some recommendations from folks who say,

 

[5/12/2022 10:00 AM] Benvenuto, Giorgio - 05-12-2022
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"Hey, you really should be, like, separate entities," I
pursued this avenue. And as far as me saying this, you
know, "make it look realistic", well, if you haven't
guessed, I'ma little bit sarcastic. So in reference to
that, I can't tell you definitely, but Mr. Chavez is an
entity to deal with sometimes.

Q Okay.

A And again, as you can see, we were playing with,
you know, again, the figure. You know, where do we come
with 40; where do we come with 30?

Q Well, you previously testified that 30 was

because you were renting furniture and --

A Right.

Q Gio.

A Sorry.

Q Let me finish.

You previously testified you came up with 30
because you were renting furniture, cable, RingCentral
service, utilities. That's where you came up with the
30 number; is that incorrect?

A No, no. And, of course, he corrected me by that
because I simply threw a figure out there, not
realizing, all right, where's this number really coming
from?

Q Am I correct to say that the 30 number is based

 

[5/12/2022 10:00 AM] Benvenuto, Giorgio - 05-12-2022
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on the previous factors that you testified to earlier

today?
A ‘Yes.
Q When you say "makes it look realistic" and you

say "makes it look believable", why are you saying those \
things?

A Because sometimes Mr. Chavez needs a sarcastic
kick in the butt. That's how I treat him to get him to
move or make a decision or realize, hey, maybe I'm right
here.

Q Okay. You also testified that CBT never received
a cent. However, as we went through the bank records
earlier today, we've established and you've testified
that Mr. Chavez's entities, whether they be Maurizzio
Group or whether they be CryptoFX, have deposited
hundreds of thousands, if not millions, of dollars into
CBT accounts; is that correct?

A Again, I'd have to look specifically at records
that show me this. Did we cover this? And if so, I'll
agree to it. Otherwise, again, my experience, if you're
asking me by memory, it would have been individual
checks that were given to me to deposit. Like, him
directly transferring -- wiring money, I don't recall
seeing those types of transactions, other than getting a

cashier's check from one bank and moving it to another.

 

[5/12/2022 10:00 AM] Benvenuto, Giorgio - 05-12-2022
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Q We did cover this when we covered the Cadence
Bank earlier today.
A Yeah.
Q We covered the fact that Mr. Chavez's account
directly deposited and transferred moneys into the

Cadence Bank account for CBT. Should we go over that

record?
A No. I mean, we were -- we were both on the
account. So, you know, again, he -- and he would do

activities without my knowledge, either deposit or
withdrawal or transactions, like we spoke of, because he
was signatory on the account. So, okay, if we -- if we
agree to that, yeah, okay, great.

Q You just testified that CBT never received a
cent. But it is true that Chavez's entities have been

paying into CBT's accounts; is that correct?

A Clearly, you're correcting me, and I'll accept
that, yes.

Q So is it -- are you saying that CFX --

A No -- I'm sorry.

Q -- had not paid rent?

A Well, again, according to the contract drawn up

related to contract payments, I didn't see those types
of deposits related to the lease being transferred or

deposited. There -- clearly, there are other deposits,

 

[5/12/2022 10:00 AM] Benvenuto, Giorgio - 05-12-2022
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but that would have been -- yeah, that would have been
pre -- would have been pre-Blalock.

Q Okay. When did the Black sublease go into
affect? It was September of 2021; am I correct?

A The lease begins on September -- yes -- 2021.
And when I say "no payments received", I mean, payments
specifically related to lease, meaning a notation saying
"rent" or something to that effect.

Q But your testimony that CBT has never received a
cent from CryptoFx isn't entirely correct; is that
right?

A I'd have to agree. If it came up in the other
statements with Cadence, then I'd have to agree.

Q Not only with Cadence but on looking at deposits
from Mr. Chavez and Mr. Chavez's entities here in
November of 2021 after the Blalock lease into the CBT

account at Spirit of Texas?

A Okay.

Q We went through these on the record. Do you
agree that that -- those deposits occurred?

A If those deposits are on those transactions, then
I agree.

QO Okay. So just so we're clear, because I think

you're referring to the fact that there were specific

notations of lease payments. But certainly, CBT has

 

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been paid by CFX and by. moneys that are probably CFX
investor moneys. Do you agree with that?

A Knowing the knowledge I know now, the possibility
does exist. Now, with your reference to him
transferring moneys to CBT and you're calling that
"rent", well, again, call me a silo guy but I would
expect to see a monthly cadence of an agreed contract,
which. I didn't so that's where my reference of "no"
comes from.

Q Okay. So you would expect to see a monthly
deposit of a certain amount of rent every single month.
Okay. And that's where your reference was before. All
right.

A Yeah. That's what I meant by it.

Q Okay. Got it.

Have you asked Mr. Chavez to pay rent?

A I kept asking him, "Hey, are you just going to
bypass this lease?" He'd never respond to it. And
again, I'm -- how do I probe --

Q Go ahead.

A Again, how do I probe someone that has 85 percent
share of the company? And, you know, my focus is on CBT
Group real estate development, and I'm trying to help
this guy out as best I can.

-Q So CBT Group holds the lease. CFX Group is

 

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paying the sublease. So if he owns 85 percent of CBT

Group, he's really paying rent to himself, right?

A Pretty much.
Q Yeah.
A. I wouldn't refute that. I mean, if this was an

attempt to separate the companies in the event in
future, you know, it came that -- I don't know -- for
whatever reason, I felt that we needed to separate, my
attorneys at Rapp & Krock agreed.

Q Did you anticipate separating from Mr. Chavez?

A Just in -- in entity -- what do you mean,
separate fully?

Q Well, I mean, you said that you said "in the
future, we need to separate". I'm asking did you
anticipate needing to separate?

A No. I mean, I didn't -- I didn't want the CBT
Group associated with -- you know, synonymously with his
other businesses. I mean, it's a real estate
development entity. It's not a digital asset company.

Q So if Mr. Chavez characterized CBT Group as the

real estate arm of CFX, that would be incorrect?

A I guess he would not be incorrect.
Q Okay.
A I mean, it's another business venture that he's

involved in, but I'm not involved in his.

 

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Q Got it.
A So this is my position.
Q But CBT Group doesn't do anything with digital

assets. So calling it "the real estate arm of CFX", is
that a characterization that you're comfortable with?

A Again, maybe he can characterize this because he
has interests in both companies. I have interest in one
company. So I can't say the same because CFX is, you
know, the digital asset arm of CBT? No.

Q Okay.

A However, the question -- what you just said, I'll
agree to that, sure. Would I actually verbalize it?

No.

Q I'm not sure you answered my question. I asked
if you were comfortable with that characterization.

A Tf you characterized it that way, yes. Would I
describe it? No.

Q So you're not comfortable with that
characterization?

A I didn't say I wasn't comfort with it, Jillian.
I said I would say CBT Group is a real estate entity,
rather. It does not have an arm to digital assets.

Now, however, Mauricio is clearly 85 percent owner of
CBT Group, and he has every right to say that CBT Group

is the real estate arm of CFX. I mean, I'm just trying

 

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to make the distinction that it's not interchangeable,
that's all.

MR. BURFORD: Can we take a five-minute
break?

MS. HARRIS: I understand it's not
interchangeable.

We can take a five-minute break. Let's go
back on the record at 4:45.

We're off the record.

(Whereupon, a brief recess was taken.)

MS. HARRIS: We are back on the record at
4>51 p.m. Central Time.

Q I'm going to stick with Exhibit 55. Let's go to

page 110 of this exhibit. October 5th of 2021 at 5:03,
you state, "Please have Norma gather a number of checks
so that I can make a run to Spirit of Texas Bank and
deposit a large sum of money into that account."

Do you see that?

A I do.
Q So explain what's going on here.
A Norma would be one of the admin folks, and they

gathered a number of checks. He'd informed me that
there were some checks sitting for me there and that he
couldn't -- he couldn't be available so he had directed

to Norm to take care of it.

 

[5/12/2022 10:00 AM] Benvenuto, Giorgio - 05-12-2022
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questions. But honestly, I think I want to wrap this
up.

And then, Robert, if you want to ask any
clarifying questions of your client, that'll be the time
in which you do so.

Gio, if you have anything else that you want
to clarify and put on the record, that would be the time
to do so.

So with that, let's go off the record and
come back at the 5:40 mark. We are off the record.

(Whereupon, a brief recess was taken.)

MS. HARRIS: We're back on the record at
5:42 p.m.

Q Okay, Gio.

A Yes.

Q I'm at the bottom part of the page, November
18th, 2021, at 11:34. You say, "T have a friend by the
name of Tanya that is opening up a $100,000 contract
teday. I gave he directly to Eddie." Then you say,

"Get her to make that check out to CBT Group," wink

face.

A Yes.

Q And then Mr. Chavez says, "Yes, bro," and you say
"excellent". Is this an example of you directing CFX

investors to make their contract money out to CBT Group?

 

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A ‘In the time frame at this point, I kind of
surmised what may have been going on and sarcastically
made that comment-to him, hoping that it would happen.

Q Okay. So this is an example of you asking
Mr. Chavez to direct $100,000 of crx investor money to
CBT Group?

A Yes. It was an attempt to try to get him to get
funding to me. So it was a jab -- sorry -- a sarcastic
remark saying, “Mauricio, I need funding." So it was
just an opportunity.

Q Okay. So Mauricio then says, "Yes, bro." So
there were times, and this is one example, in which CFX
investor money was directly -- strike that.

There were times in which CFX investor money was
directed to CBT Group?

A My response to that would be in reference to this
particular comment, it was more of a sarcastic remark to
get him to get me funding. I simply said, "Wow, Tanya's
a friend of mine. She's going to put $100,000 towards
your company." Kind of in a backdoor way saying, "I
could use that money," I made that comment. Again, we'd
have to go back to the records to the verify if he
actually did that. I'm sorry.

Q I'm not asking what actually happened. I'm

asking what you meant. But --

 

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A Yeah, I -- forgive me. It was more of an
opportunity in a sarcastic way of saying "I could really
use that funding". |
Q Okay. What's Tanya's name? Excuse me what's
Tanya's last name?

AC Yeah, I can't think of it at the moment. I'm

sorry.
Q Is it Tanya Lee?
A Yes, Tanya Lee.
Q Do you have her phone number?

A I should.
Q Would you mind providing that to us, either off
the record or on the record?

THE WITNESS: Robert?

MR. BURFORD: Why don't you do this: Why
don't you make sure Mrs. Lee doesn't mind her phone
number being given out, and if it's not a problem, I'll
supplement to Ms. Harris.

MS. HARRIS: Absolutely. That's fine.

THE WITNESS: So she could follow up with.
Tanya herself?

MR. BURFORD: Whatever she would like.

THE WITNESS: Yeah. Sure, sure.

MR. BURFORD: Just make sure of it, that

it's okay.

 

. [5/12/2022 10:00 AM] Benvenuto, Giorgio - 05-12-2022

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Page 200
PROOFREADER'S CERTIFICATE

In the Matter of: CRYPTO FX LLC

Witness: Giorgio Benvenuto

File Number: FW-04464-A

Date: Thursday, May 12, 2022
Location: Fort Worth, Texas

This is. to certify that I, Christine Boyce,
(the undersigned), do hereby certify that the foregoing
transcript is a complete, true and accurate transcription
of all matters contained on the recorded proceedings of the

investigative testimony.

 

(Proofreader's Name) 5-19-2022

 

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CERTIFICATION

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'I, NICOLE WEXLER, a Notary Public
in and for the State of New York, do hereby
certify:

THAT the witness(es) whose
testimony is herein before set forth, was duly
sworn by me; and

THAT the within transcript is a

true and accurate record of the testimony

“given by said witness(es).

I further certify that I am not
related either by blood or marriage, to any of
the parties to this action; and

THAT I am in no way interested in.
the outcome of this matter.

IN WITNESS WHEREOF, I have hereunto
set my hand this 12th day of May 2022.

NICOLE WEXLER

APP0090
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Exhibit D
EXHIBIT |

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Bitcoin is the most important
cryptocurrency.

It is a decentralized digital currency without a
, central bank or a sole administrator that can
_be sent from one user to another through the
Bitcoin network (peer-to-peer) without the
need for intermediaries.

Transactions are verified by the network
through cryptography and recorded ina
- distributed public book called Blockchain.

' Bitcoin was invented by an unknown person
or a group of people named Satoshi
Nakamoto and launched as open-source
software in 2009. Bitcoins are created as a
reward by a process called mining.

 

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(From 2017 to 2027, in US dollars. Source: statista.com)

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Bitcoin works with its digital encryption
system called BLOCKCHAIN.

It is a public accounting book where you
can see all the transactions in real-time
while maintaining the user’s privacy at the
same time.

 

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04 Win with FOREX signals
05 Win with CRYPTOFX IA (automatic FX)
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